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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



JOHN STANISE,                            CASE No.: 1:20-cv-02769-VSB
                 Plaintiffs,
     v.
VICTOR LORIA,
                 Defendant.




                  MEMORANDUM OF LAW IN SUPPORT OF
                DEFENDANT’S MOTION TO TRANSFER VENUE




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                                PRELIMINARY STATEMENT

        This transfer motion involves two out-of-state parties, fighting over an out-of-state

company, asking the Court to apply out-of-state law. This matter has no connection to New

York or this Court, and should be transferred to the United States District Court for the Southern

District of Florida.

                                   STATEMENT OF FACTS

        For purposes of this transfer motion, a limited factual recitation is required. This matter

involves a contract dispute between Plaintiff John Stanise (“Plaintiff” or “Stanise”) and

Defendant Victor Loria, D.O. (“Defendant” or “Dr. Loria”). Plaintiff is a resident of the State of

Connecticut. See Complaint (“Compl.”) at ¶6. Defendant resides in Doral, Florida. Id. at 7.

The company in dispute, Lorstan Pharmaceutical LLC (the “Company”), is a Delaware entity.

Id. at 1. The Company’s principal place of business is also in Doral, Florida, Compl. at Ex. A,

¶2.5, which is located in the Southern District of Florida.

        The Company’s Operating Agreement contains a permissive forum selection clause

which states as follows:

        19.7    Governing Law, Submission to Jurisdiction, and Waiver of Jury Trial

             (a)  THIS AGREEMENT SHALL BE GOVERNED IN ALL
        RESPECTS BY THE INTERNAL LAWS OF THE STATE OF DELAWARE
        WITHOUT REGARD TO CONFLICT OF LAWS PROVISIONS.

             (b)   EACH PARTY HERETO HEREBY SUBMITS TO THE
        NONEXCLUSIVE JURISDICTION OF THE UNITED STATES DISTRICT
        COURT FOR THE SOUTHERN DISTRICT OF NEW YORK AND OF ANY
        NEW YORK STATE COURT SITTING IN THE BOROUGH OF
        MANHATTAN FOR PURPOSES OF ALL LEGAL PROCEEDINGS ARISING
        OUT OF OR RELATING TO THIS AGREEMENT AND THE
        TRANSACTIONS CONTEMPLATED HEREBY EACH PARTY HERETO
        HEREBY WAIVES TO THE FULLEST EXTENT PERMITTED BY LAW,
        ANY OBJECTION WHICH IT MAY NOW OR HEREAFTER HAVE TO THE
        VENUE OF ANY SUCH PROCEEDING BROUGHT IN SUCH A COURT

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         AND ANY CLAIM THAT ANY SUCH PROCEEDING BROUGHT IN SUCH
         A COURT HAS BEEN BROUGHT IN AN INCONVENIENT FORUM.

Compl. at Ex. A, ¶19.7 (emphasis added).

                                           ARGUMENT

   I.       The Permissive Forum Selection Clause Contained in the Parties’ Agreement is
            Not Dispositive of the Question of Whether the United States District Court for
            the Southern District of New York is the Proper Venue for this Dispute.

         When a federal forum is designated by a permissive forum selection clause as a non-

exclusive jurisdiction in which a dispute arising under the parties’ agreement may be filed, the

analysis does not end there. Rather, an action filed in the designated district may properly be

subject to a transfer motion. The United States Supreme Court held in Stewart Org., Inc. v. Ricoh

Corp., 487 U.S. 22, 31 (1988), that even a mandatory forum selection clause is not dispositive of

a transfer motion under 28 U.S.C. § 1404(a). While the presence of a forum selection clause will

be a factor in the court’s analysis, district courts must also weigh in the balance the convenience

of the witnesses and those public-interest factors of systemic integrity and fairness that, in

addition to private concerns, come under the heading of “the interest of justice.” Id. at 30.

   II.      This Matter Has No Connection to New York.

         Simply put, this matter has no connection to the State of New York, any of its citizens, or

this Court, and therefore the factors weigh in favor of its transfer. Per the Complaint, Plaintiff is

a Connecticut resident, while Defendant resides in Florida. Per the Operating Agreement

attached to the Complaint at Exhibit A, the company (Lorstan Pharmaceutical LLC) at the center

of the dispute is a Delaware entity with its principal place of business also located in Florida.

The choice of law provision selects the law of Delaware to be applied. If any state has an

interest in this matter, surely it is a state where one of the parties resides and/or where the

Company in dispute is actually located.

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    III.      Pursuant to 28 U.S.C. § 1404(a), this Matter Should be Transferred to the
              United States District Court for the Southern District of Florida.

           Under 28 U.S.C. § 1404(a), “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought or to any district or division to which all parties have

consented.” Transfer is appropriate, therefore, (1) when the action “might have been brought” in

the district where the movant seeks to have the action transferred, and (2) when the transfer

would favor convenience and justice. POSVEN v. Liberty Mut. Ins. Co., 303 F. Supp. 2d 391,

401 (S.D.N.Y. 2004).

           As the forum selection clause in this matter is permissive/nonexclusive, Plaintiff could

have brought this action in the Southern District of Florida where both Defendant and the

disputed Company are located. An action “might have been brought” in a district if, when the

action was filed, subject-matter jurisdiction, personal-jurisdiction, and venue would have been

proper in the transferee court. Id. Here, the Southern District of Florida would have had subject

matter jurisdiction based on diversity pursuant to 28 U.S.C. § 1332: as pled in the Complaint,

Plaintiff is a Connecticut resident, Defendant is a Florida resident, and the amount in controversy

exceeds $75,000. The Florida court would have general personal jurisdiction over Defendant

since he resides in Florida. Likewise, venue would be proper under 28 U.S.C. § 1391 because

Dr. Loria is a Florida resident, the disputed Company has its principal office in Florida, and the

factual issues that give rise to this dispute surround a Florida based company and its operations.

           The transfer of this action to the Southern District of Florida would favor convenience

and justice. The Second Circuit considers nine factors when weighing the convenience and




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fairness of a transfer: (1) the convenience of witnesses; (2) the location of relevant documents

and the relative ease of access to sources of proof; (3) the convenience of the parties; (4) the

locus of the operative facts; (5) the availability of process to compel attendance of unwilling

witnesses; (6) the relative means of the parties; (7) a forum’s familiarity with the governing law;

(8) the weight accorded to plaintiff's choice of forum; and (9) trial efficiency and the interests of

justice, based upon the totality of the circumstances. POSVEN, 303 F. Supp. 2d at 404.

       The convenience of the forum for the witnesses weighs in favor of transfer to the

Southern District of Florida. Id. For this factor, courts “must consider the materiality, nature, and

quality of each witness, in addition to the mere number of witnesses in each district.” Beatie &

Osborn LLP v. Patriot Sci. Corp., 431 F. Supp. 2d 367, 396 (S.D.N.Y. 2006). Here, Florida is the

most convenient forum for the witnesses because many of the potential witnesses (save, perhaps,

Plaintiff himself and some of the staff) live and work in Florida, including Defendant and other

staff of the Company. Many of the relevant documents are also in Florida, as that is the location

of the Company’s principal office per its Operating Agreement. 1 The convenience of the parties

is a neutral factor where, as here, the transfer of venue would “merely shift the inconvenience to

the other party.” Beatie, 431 F. Supp. 2d at 396.

       The locus of operative fact, the “site of events from which the claim arises,” is Florida.

Colbert v. P&G, No. 16 Civ. 2636 (PGG), 2017 U.S. Dist. LEXIS 141268, at *20 (S.D.N.Y.

Aug. 30, 2017). Plaintiff alleges that Dr. Loria breached his contractual and fiduciary duties

associated with the Company, which has its principal office located in Doral, Florida, where Dr.

Loria also resides. All of the actions giving rise to this claim stem from Dr. Loria’s alleged

activities in Florida as it relates to the parties’ Florida-based company.

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  While other relevant documents and witnesses may be located in Connecticut, surely no
relevant documents or witnesses are located in New York.
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       As the law to be applied is that of Delaware, the two jurisdictions’ familiarity with the

law is a neutral factor given that all federal courts frequently construe Delaware corporate law.

And Plaintiff’s choice of forum in New York is a less important factor because a plaintiff’s

forum choice “is given less weight where the case’s operative facts have little connection with

the chosen forum.” Colbert, 2017 U.S. Dist. LEXIS 141268, at *23. Here, as discussed above,

this case’s operative facts are centered in Florida, the location of the Company at the heart of the

underlying dispute. The totality of the circumstances, therefore, weighs in favor of the transfer

of this case to the Southern District of Florida.

                                          CONCLUSION

       For the reasons expressed herein, Defendant respectfully requests that the Complaint be

transferred to the Southern District of Florida.

Dated: New York, New York
May 4, 2020
                                                        Respectfully submitted,



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